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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 0:19-cv-61292-RKA

 JEREMY BLUMENAUER, individually           :
 and on behalf of all others similarly situated,
                                           :
                                           :
             Plaintiff,                    :
                                           :
       v.                                  :
                                           :
 PETLAND, INC.,                            :
                                           :
             Defendant.                    :
 __________________________________________:

                      DEFENDANT, PETLAND, INC.’S NOTICE OF
                  PENDING, REFILED, RELATED OR SIMILAR ACTION

        Defendant, Petland, Inc. (“Petland”), pursuant to Rule 3.8 of the Southern District of

 Florida Local Rules and Section 2.15.00 of the Court’s Internal Operating Procedures, hereby files

 this Notice of Pending, Refiled, Related or Similar Actions, and states as follows:

        Petland provides notice to the Court of the following pending, related, and similar action,

 which involves subject matter that is similar to and/or a material part of the subject matter of this

 action: Fenwick v. Florida Pet Retailers, Inc. and Pooches of Pines, Inc. d/b/a Petland Pembroke

 Pines, Case No. 0:19-cv-61080-MORENO (S.D. Fla.).

        (Signature Page Follows)
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 Date: July 3, 2019                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of July, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record via transmission of Notices of Electronic Filing

 generated by CM/ECF.



                                                             /s/ Timothy A. Kolaya
                                                             TIMOTHY A. KOLAYA

                                        SERVICE LIST
                                  Blumenauer v. Petland, Inc.
                                Case No. 0:19-cv-61292-RKA
                   United States District Court, Southern District of Florida


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